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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                         CRIMINAL ACTION

VERSUS                                           NO: 12-198

LONDON CARTER                                    SECTION: R


                           ORDER AND REASONS

     Defendant London Carter moves the Court to reconsider its

previous denial of his motion to sever his trial from that of his

codefendant Walter Porter. Because the Court finds that Carter has

failed to show that a joint trial would compromise a specific trial

right, the Court DENIES Carter's re-urged motion for severance.



I. Background

     On February 6, 2014, the grand jury returned the Third

Superseding Indictment, which names three defendants and includes

six charges.1     Count I charges Walter Porter, Robert Taylor, and

London Carter with conspiracy to commit armed bank robbery.                   It

details two bank robberies--one committed on July 6, 2011 and one

August 26, 2011--as overt acts committed in furtherance of the

conspiracy.     Count II charges Porter and Taylor with commission of

the July 6, 2011 robbery, and Count III charges the two with use of




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         R. Doc. 227.
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a firearm during the commission of that robbery.2                     Count IV charges

Porter and Carter with commission of the August 26, 2011 robbery,

and   Count   V     charges    them    with    use     of    a    firearm     during    the

commission     of    that     robbery.         Count    VI       charges    Porter     with

conspiracy to commit money laundering.

      On November 20, 2013, Carter joined his co-defendants' motion

to sever their cases from that of Walter Porter, arguing that

evidence against Porter would "spill over" into their cases causing

undue prejudice.3      The Court denied the motion to sever on December

18, 2013.4    Carter now moves the Court to reconsider that decision,

and sever Carter's case from that of Porter.                      Carter does not re-

urge the "spill over" argument, but instead contends that a

severance     is    warranted    because       (1)     there      have     been   multiple

continuances of trial since the instigation of charges against him,

(2) his codefendant Porter has been unavailable for trial for an

extended period of time, and (3) he wants his day in Court.5




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       Taylor has pleaded to the counts against him, leaving only
Porter and Carter as defendants in this case. R. Doc. 318.
      3
          R. Doc. 196.
      4
          R. Doc. 204.
      5
          R. Doc. 403 at 2-3.

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II.    Standard

       "Motions      to   reconsider   in       criminal    cases     are    judicial

creations not derived from any statute or rule."                United States v.

Salinas, 665 F. Supp. 2d 717, 720 (W.D. Tex. 2009) (citing United

States v. Brewer, 60 F.3d 1142, 1143-44 (5th Cir. 1995)). Although

the Federal Rules of Criminal Procedure do not explicitly authorize

motions for reconsideration, district courts possess continuing

jurisdiction over criminal cases and are free to reconsider their

earlier decisions.        United States v. Scott, 524 F.2d 465, 467 (5th

Cir. 1975).     Nevertheless, motions for reconsideration "serve the

narrow purpose of allowing a party to correct manifest errors of

law or fact or to present newly discovered evidence."                          United

States v. Banks, No. 1:08-cr-113, 2009 WL 585506, at *1 (E.D. Tex.

Mar.   6,    2009)    (citations     and       internal    quotations       omitted).

Accordingly, "[t]here is a high burden of proof on the party

seeking reconsideration in order to discourage litigants from

making      repetitive     arguments   on       issues     already    considered."

Salinas, 665 F. Supp. 2d at 720 (internal quotations omitted).



III. Discussion

       Rule 14 provides that a court may order the severance of

defendants' trials "[i]f the joinder of offenses or defendants in

an indictment, an information, or a consolidation for trial appears

to prejudice a defendant or the government[.]"                  Fed. R. Crim. P.


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14(a). But Rule 14 does not require severance even if prejudice is

shown.    Rather, "it leaves the tailoring of the relief to be

granted, if any, to the district court's sound discretion." Zafiro

v. United States, 506 U.S. 534, 538–39 (1993).         In exercising that

discretion, the district court is to "balance the right of a

defendant to a fair trial against the interests of judicial

economy."   United States v. Zicree, 605 F.2d 1381, 1388 (5th Cir.

1979).

       When the Government indicts defendants together, there is a

preference for joint trials of the defendants. Zafiro, 506 U.S. at

537.   Courts have generally held that when defendants are indicted

together, they should be tried together.       United States v. McCord,

33 F.3d 1434, 1452 (5th Cir. 1994).      This is especially true when

the defendants are charged with the same conspiracy.           See id.    The

Supreme Court has directed a district court to sever charges "only

if there is a risk that a joint trial would compromise a specific

right of one of the defendants, or prevent the jury from making a

reliable judgment about guilt or innocence."         Zafiro, 506 U.S. at

539. The defendant carries the "heavy burden" of showing "specific

and compelling prejudice." United States v. Mitchell, 31 F.3d 271,

276 (5th Cir. 1994).

       In his motion for reconsideration, Carter does not identify

any manifest errors of law or fact in the Court's initial decision




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denying his motion for severance.        Instead, Carter offers a new

theory as to why severance is warranted:

     [C]o-defendant   Porter's    continued   and   extended
     unavailability for trial, as well as the numerous and
     repeated continuances of the trial in this matter are
     sufficient grounds for a severance, since under those
     circumstances London Carter is prejudiced by not being
     able to move forward and have his day in court.6

Although Carter does not cite any case law or indicate what

specific right a joint trial would compromise, the Court construes

Carter's argument as an appeal to his rights under the Speedy Trial

Act and the Sixth Amendment.       See United States v. Frye, 489 F.3d

201, 211 (5th Cir. 2007) (the assertion of the speedy trial right

generally takes the form of either an objection to a continuance or

a motion asking to go to trial).

     A.     Speedy Trial Act

     The    Speedy   Trial   Act   requires   that   a   court   conduct       a

defendant's trial within seventy days of the indictment or when the

defendant first appears before the court, whichever is later.                 18

U.S.C. § 3161.       Certain actions, however, toll the seventy-day

clock.    United States v. Parker, 505 F.3d 323, 326 (5th Cir. 2007).

For example, Section 3161(h)(6) provides for the exclusion of a

"reasonable period of delay when the defendant is joined for trial

with a codefendant as to whom the time for trial has not run and no

motion for severance has been granted."         18 U.S.C. § 3161(h)(6).



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         R. Doc. 403-1 at 2.

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This means that "the excludable delay for one codefendant may be

attributable to all codefendants."        United States v. Stephens, 489

F.3d 647, 654 (5th Cir. 2007). Attribution of the excludable delay

from one codefendant to another is not automatic; rather, the

period of delay must be reasonable.       Id.   The reasonableness of the

delay can be measured in reference to either (1) "the totality of

the circumstances prior to trial," or (2) "the actual prejudice

suffered" by the defendant as a result of the delay.             United States

v. Franklin, 148 F.3d 451, 457 (5th Cir. 1998).            "In examining the

totality of the circumstances of the case, [the] inquiry focuses on

the necessity of the delay, giving proper consideration to the

purpose behind [§ 3161(h)(6)]--accommodating the efficient use of

prosecutorial and judicial resources in trying multiple defendants

in a single trial."     United States v. Bieganowski, 313 F.3d 264,

283 (5th Cir. 2002) (quoting Franklin, 148 F.3d at 457).                  "With

respect to the prejudice analysis, relevant considerations include

whether the delay impaired the appellant's ability to defend

himself     or   resulted   in    excessive     pretrial    incarceration."

Franklin, 148 F.3d at 457.

     Here, the Court finds that Carter's rights under the Speedy

Trial Act will not be compromised by trying Carter and Porter

together.    As an initial matter, the Court finds that the totality

of the pretrial circumstances in this case allow the Court to

reasonably attribute the pretrial delay to Carter.               See Franklin,


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148 F.2d at 457.        In his motion, Carter complains that "trial has

been continued numerous times,"7 but omits that he has either moved

the Court for these continuances or joined his codefendants'

motions to continue.8       See United States v. Jackson, CR. A. No. 12-

1, 2014 WL 121976, at *5 (E.D. La. Jan. 13, 2014) (denying motion

to sever on speedy trial grounds because defendant "joined two

motions to continue the pretrial conference and trial dates").

Moreover, while much of the delay in this case is attributable to

Porter's     pretrial    motion   practice,9     the   resolution     of   these

motions, which the Court expects to accomplish in the near future,

is a prerequisite to proceeding in this matter.10              The Court also

notes that, given the nature of Porter's pretrial motions, the

delay in resolving the motions is both necessary and unavoidable.

See Franklin, 148 F.3d at 457 n.20 ("For example, a period of delay

is reasonable under [§ 3161(h)(6)] if it appears necessary in order

for the trial court to dispose of the underlying motions . . . .")

(internal quotation and citation omitted).                 Thus,     given the



     7
          R. Doc. 403 at 3.
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       See R. Doc. 85 (motion to continue filed by Carter), R.
Doc. 179 (no objection to continuance); R. Doc. 213 (same); R.
Doc. 244 (same); R. Doc. 266 (joined motion to continue); R. Doc.
288 (same); R. Doc. 353 (same).
     9
          See R. Doc. 271 (under seal).
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       All of the motions precipitating the delay in this case
that are uniquely attributable to Porter have been filed under
seal.
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purpose behind Section 3161(h)(6)--accommodating the efficient use

of    prosecutorial     and    judicial       resources      in    trying   multiple

defendants in a single trial--the Court finds that the delays

associated with Porter's pretrial motions practice is reasonably

attributable to Carter.           See id. at 457 (noting that the "utility

of a joint trial is particularly compelling" when defendants are

charged in a single conspiracy).

        The Court also finds that Carter has failed to show actual

prejudice as a result of the delays caused by Porter's pretrial

motion practice. As discussed above, Carter's complaints regarding

the    continuances     in    this   matter,    and    the    resulting     pretrial

detention, ring hollow in light of his agreement to all of his

codefendants' motions to continue until now.11                    Moreover, Carter's

conclusory claim that he "is prejudiced by not being able to move

forward and have his day in court" falls well short of the

requisite showing of actual prejudice.                    See Jackson, 2014 WL

121976, at *5 n.5 (denying motion to sever on speedy trial right

grounds where "Jackson fails to show actual prejudice").

        For the foregoing reasons, the Court finds that Carter has

failed to show that a joint trial in this matter will compromise

his rights under the Speedy Trial Act.




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             See supra note 8.
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      B.   Sixth Amendment Right to a Speedy Trial

      To the extent Carter bases his motion to sever on his Sixth

Amendment right to a speedy trial,12 the Court finds that a joint

trial in this matter will not conflict with Carter's rights under

the Sixth Amendment.

      In Barker v. Wingo, 407 U.S. 514 (1972), the Supreme Court set

forth four factors to consider in analyzing Sixth Amendment speedy

trial claims: "(1) the length of the delay, (2) the reason for [the

delay], (3) the defendant's diligence in asserting his Sixth

Amendment right, and (4) prejudice to the defendant resulting from

the delay."   United States v. Hernandez, 457 F.3d 416, 420 (5th

Cir. 2006).     In undertaking a "full Barker analysis," courts

"initially look to the first three factors . . . in order to

determine whether prejudice will be presumed or whether actual

prejudice must be shown."      Id.   "Prejudice may be presumed where

the first three factors weigh heavily in the defendant's favor."

Id.   However, if the first three factors do not weigh heavily in

the defendant's favor, "then the defendant bears the burden of both

establishing actual prejudice and demonstrating the such prejudice



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       The Court expresses its doubt that Carter has properly
asserted his Sixth Amendment speedy trial right. See Parker, 505
F.3d at 330 (distinguishing Parker's "first affirmative
indication that he wanted to proceed to trial" from the first
time "he affirmatively asserted his right to a speedy trial").
Nevertheless, the Court, out of an abundance of caution, and even
though Carter fails to brief the issue, addresses any Sixth
Amendment speedy trial right Carter may be raising.
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is sufficient to outweigh the other three factors." Frye, 489 F.3d

at 209.    Further, it will "be the unusual case . . . where the time

limits under the Speedy Trial Act have been satisfied but the right

to a speedy trial under the Sixth Amendment has been violated."

Bieganowski, 313 F.3d at 284.

     The Supreme Court has described the length-of-delay factor as

a "triggering mechanism."      Barker, 407 U.S. at 530.          A defendant

must "allege that the interval between accusation and trial has

crossed    the   threshold    dividing   ordinary      from    presumptively

prejudicial delay," and the court must then consider "the extent to

which the delay stretches beyond the bare minimum needed to trigger

judicial examination of the claim."      Doggett v. United States, 505

U.S. 647, 651-52 (1992).        In the Fifth Circuit, prejudice is

presumed "only in cases in which the post-indictment delay lasted

at least five years."     United States v. Serna-Villarreal, 352 F.3d

225, 232 (5th Cir. 2003).     A one-year delay, however, is generally

sufficient to warrant a full analysis of the Barker factors.                Id.

at 230.

     Here, Carter made his initial appearance approximately two-

years ago, on May 13, 2013.13     Because this interval is longer than

one year, the Court will engage in a full Barker analysis; two

years,    however,   is   insufficient   to   prompt    a     presumption   of




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          R. Doc. 67.
                                    10
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prejudice, and the delay does not weigh heavily in Carter's favor.

See Serna-Villarreal, 352 F.3d at 230-32.

     The second and third Barker factors--the reason for the delay

and the defendant's diligence in asserting his Sixth Amendment

right--weigh against Carter.       As detailed above, Carter either

moved for a continuance or joined in a codefendants' motion to

continue every time trial has been continued in this matter.14

Under such circumstances, it can hardly be said that Carter has

diligently asserted his speedy trial rights. Frye, 489 F.3d at 212

(holding that Frye had not diligently asserted his speedy trial

rights where he repeatedly moved for continuances).             Apart from

Carter's role in seeking the continuances in this matter, the

reason for the delay--Porter's current unavailability to stand

trial--also weighs heavily against Carter.        Frye, 489 F.3d at 210

("Valid reasons, such as tracking down a missing witness, will

actually justify the delay and will not be weighed against the

government.").    This is especially true because Carter and Porter

were indicted together and are charged with a single conspiracy.

See Franklin, 148 F.3d at 457.

     Finally, as discussed above, Carter has failed to make the

requisite showing of prejudice. Because none of the three factors,

either separately or in the aggregate, weighs in Carter's favor,

Carter is not entitled to a presumption of prejudice.             See Frye,


     14
          Supra note 8.
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489 F.3d at 212.         As a result, to demonstrate that failure to sever

his case would result in a violation of his Sixth Amendment speedy

trial     rights,    Carter       must     establish    actual        prejudice    and

demonstrate that the prejudice sufficiently outweighs the other

factors. Parker, 505 F.3d at 328. Carter's general and conclusory

assertion that he is prejudiced "by not being able to move forward

and have his day in court" is insufficient to overcome the other

factors that weigh against him.                 Frye, 489 F.3d at 213 ("Frye's

argument that he suffered oppressive pretrial incarceration is

conclusory    and    not       supported   by    evidence   specifying       harm.").

Accordingly, the Court finds that Carter has failed to show that

the delays associated with the joint trial in this matter violate

his Sixth Amendment right to a speedy trial.



IV.     Conclusion

        For the foregoing reasons, the Court finds that Carter has

failed to demonstrate any specific or discrete risk to a trial

right    should     he    be    tried    jointly    with    codefendant       Porter.

Accordingly, Carter's motion to reconsider is DENIED.



                                      27th day of April, 2015.
         New Orleans, Louisiana, this ____


                         ______________________________
                                 SARAH S. VANCE
                          UNITED STATES DISTRICT JUDGE



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